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                            UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
 8
                                     AT SEATTLE
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10         UNITED STATES OF AMERICA,                     CASE NO. CR19-0117JLR

11                              Plaintiff,               ORDER REGARDING
                  v.                                     IN-CAMERA REVIEW
12
           SHAWNA REID,
13
                                Defendant.
14

15         By Order dated August 6, 2020, the court ordered the United States of America

16   (“the Government”) to submit for in camera review grand jury materials related to

17   Defendant Reid. (8/6/20 Order (Dkt. # 69).) The Government has done so and the court

18   has conducted its in-camera review.

19         Both Defendant Reid and the Government submitted pleadings in connection with

20   Defendant Reid’s Motion to Compel (Mot. (Dkt. # 55). Following review of the

21   pleadings and grand jury materials, the court has determined that none of the materials

22   must be disclosed to Defendant Reid in order to avoid a “possible injustice.” See United


     ORDER - 1
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 1   States v. Plummer, 941 F.2d 799 (9th Cir. 1991) (citing Douglas Oil Co. of Calif. v.

 2   Petrol Stops NW., 441 U.S. 211, 222 (1979).

 3         Dated this 28th day of August, 2020.

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                                                     The Honorable James L. Robart
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                                                     U.S District Court Judge
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